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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


Tonia Brower,                            )
                                         )
                                         )
individually and on behalf of all others )
similarly situated,                      )
                                         ) CIVIL ACTION FILE NO.
                                         )
                 Plaintiff,              )
                                         )
                     v.                  )
                                         )
                                         ) DEMAND FOR JURY TRIAL
Convergent Outsourcing Inc., and         )
                                         )
JOHN DOES 1-25,                          )
                                         )
                                         )
                Defendant(s).            )
_______________________________



      Plaintiff Tonia Brower (hereinafter, “Plaintiff”), brings this Class Action

Complaint by and through her attorneys, against Defendant Convergent Outsourcing,

Inc. (hereinafter “Convergent”) individually and on behalf of a class of all others

similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based

upon information and belief of Plaintiff’s counsel, except for allegations specifically

pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.

                   INTRODUCTION/PRELIMINARY STATEMENT

      1.     Congress enacted the FDCPA in 1977 in response to the "abundant

   evidence of the use of abusive, deceptive, and unfair debt collection practices by

   many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned
                                                                                     1
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that "abusive debt collection practices contribute to the number of personal

bankruptcies, to material instability, to the loss of jobs, and to invasions of

individual privacy." Id. Congress concluded that "existing laws…[we]re

inadequate to protect consumers," and that "'the effective collection of debts" does

not require "misrepresentation or other abusive debt collection practices." 15

U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate

abusive debt collection practices, but also to "insure that those debt collectors who

refrain from using abusive debt collection practices are not competitively

disadvantaged." ld. § 1692(e). After determining that the existing consumer

protection laws ·were inadequate~ id § l692(b), Congress gave consumers a

private cause of action against debt collectors who fail to comply with the Act. Id.

§ 1692k.

                         JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction over

the State law claims in this action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C.

§ 1391(b)(2) as this is where the Plaintiff resides as well as where a substantial

part of the events or omissions giving rise to the claim occurred.
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                           NATURE OF THE ACTION

   5.    Plaintiff brings this class action on behalf of a class of Georgia

consumers under§ 1692 et seq. of Title 15 of the United States Code, commonly

referred to as the Fair Debt Collections Practices Act ("FDCPA"), and

   6.    Plaintiff is seeking damages and declaratory and injunctive relief.

                                    PARTIES

   7.    Plaintiff is a resident of the State of Georgia, County of Fulton, 5235

Forest Downs Lane, Atlanta, Georgia 30349.

   8.    Defendant Convergent is a "debt collector" as the phrase is defined in 15

U.S.C. § 1692(a)(6) and used in the FDCPA and may be served process at C T

Corporation System, 289 S Culver St, Lawrenceville, GA 30046-4805.

   9.    Upon information and belief, Defendant Convergent is a company that

uses the mail, telephone, and facsimile and regularly engages in business the

principal purpose of which is to attempt to collect debts alleged to be due another.

   10.   John Does l-25, are fictitious names of individuals and businesses

alleged for the purpose of substituting names of Defendants whose identities will

be disclosed in discovery and should be made parties to this action.



                          CLASS ALLEGATIONS

   11.   Plaintiff brings this claim on behalf of the following class, pursuant to
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Fed. R. Civ. P. 23(a) and 23(b)(3).

   12.   The Class consists of:

         a. all individuals with addresses in the State of Georgia;

         b. to whom Defendant Convergent sent a collection letter attempting to

             collect a consumer debt;

         c. containing deceptively worded settlement offers;

         d. which letter was sent on or after a date one (1) year prior to the filing

             of this action and on or before a date twenty-one (2l) days after the

             filing of this action.

   13.   The identities of all class members are readily ascertainable from the

records of Defendants and those companies and entities on whose behalf they

attempt to collect and/or have purchased debts.

   14.   Excluded from the Plaintiff Class are the Defendants and all officer,

members, partners, managers, directors and employees of the Defendants and their

respective immediate families, and legal counsel for all parties to this action, and

all members of their immediate families.

   15.   There are questions of law and fact common to the Plaintiff Class, which

common issues predominate over any issues involving only individual class

members. The principal issue is whether the Defendants' written communications

to consumers, in the forms attached as Exhibit A, violate 15 U.S.C. §§ l692e.
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   16.    The Plaintiff’s claims are typical of the class members, as all are based

upon the same facts and legal theories. The Plaintiff will fairly and adequately

protect the interests of the Plaintiff Class defined in this complaint. The Plaintiff

has retained counsel with experience in handling consumer lawsuits, complex

legal issues, and class actions, and neither the Plaintiff nor her attorneys have any

interests, which might cause them not to vigorously pursue this action.

   17.    This action has been brought, and may properly be maintained, as a class

action pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure

because there is a well-defined community interest in the litigation:

          a. Numerosity: The Plaintiff is informed and believes, and on that basis

             alleges, that the Plaintiff Class defined above is so numerous that

             joinder of all members would be impractical.

          b. Common Questions Predominate: Common questions of law and

             fact exist as to all members of the Plaintiff Class and those questions

             predominance over any questions or issues involving only individual

             class members. The principal issue is whether the Defendants’ written

             communications to consumers, in the forms attached as Exhibit A

             violate 15 USC §l692e.

          c. Typicality: The Plaintiff’s claims are typical of the claims of the class

             members. The Plaintiffs and all members of the Plaintiff Class have
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            claims arising out of the Defendants' common uniform course of

            conduct complained of herein.

         d. Adequacy: The Plaintiff will fairly and adequately protect the

            interests of the class members insofar as Plaintiff have no interests

            that are adverse to the absent class members. The Plaintiff is

            committed to vigorously litigating this matter. Plaintiff has also

            retained counsel experienced in handling consumer lawsuits,

            complex legal issues, and class actions. Neither the Plaintiff nor her

            counsel have any interests which might cause them not to vigorously

            pursue the instant class action lawsuit.

         e. Superiority: A class action is superior to the other available means

            for the fair and efficient adjudication of this controversy because

            individual joinder of all members would be impracticable. Class

            action treatment will permit a large number of similarly situated

            persons to prosecute their common claims in a single forum

            efficiently and without unnecessary duplication of effort and expense

            that individual actions would engender.

   18.   Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that the questions of law and fact common to

members of the Plaintiff Class predominate over any questions affecting an
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individual member, and a class action is superior to other available methods for

the fair and efficient adjudication of the controversy.

   19.      Depending on the outcome of further investigation and discovery,

Plaintiff may, at the time of class certification motion, seek to certify a class(es)

only as to particular issues pursuant to Fed. R. Civ. P. 23(c)(4).



                          FACTUAL ALLEGATIONS

   20.      Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered above herein with the same force and effect as if the same

were set forth at length herein.

   21.      Some time prior to August 12, 2020, an obligation was allegedly incurred

to T-Mobile, USA by the Plaintiff.

   22.      The T-Mobile, USA obligation arose out of transactions in which money,

property, insurance or services which are the subject of the transactions were

primarily     for   personal,    family    or   household     purposes,   specifically

telecommunication services.

   23.      The alleged T-Mobile, USA obligation is a “debt” as defined by 15

U.S.C. §1692a(5).

   24.      T-Mobile, USA is a “creditor” as defined by 15 U.S.C. §1692a(4).
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   25.   Defendant Convergent, a debt collector, was contracted by T-Mobile,

USA to collect the alleged debt which originated with T-Mobile, USA

   26.   Defendants collect and attempt to collect debts incurred or alleged to

have been incurred for personal, family or household purposes on behalf of

creditors using the United States Postal Services, telephone and internet.



                Violation I – August 12, 2020 Collection Letter

   27.   On or about August 12, 2020, Defendant Convergent sent Plaintiff a

collection letter (the “Letter”) regarding the alleged debt currently owed to

Defendant T-Mobile, USA See Exhibit A.

   28.   The collection letter states: “In order to cease collection activity, we have

been authorized to accept payment of 50% of the total balance, which is $ 293.83.

That amount must be received in our office by an agreed upon date. If you are

interested in taking advantage of this offer, call our office within 60 days of this

letter. Once the amount has been paid, the account, with the remaining balance,

will be returned to T-Mobile, USA. Please note that this is not an offer to settle,

but an offer to remove your account from further collection efforts. We are not

obligated to renew this offer.”
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   29.    The letter is deceptive because it implies that in exchange of 50% of the

balance the consumer will achieve some form of settlement, when in actuality it is

unclear what form of settlement the letter is offering.

   30.    The letter states that T-Mobile, USA will recall the account and cease all

collection activity but does not clarify what will occur with the rest of the balance

and whether the rest of the balance would be collected by another collection

company in the future.

   31.    Nor does the letter clearly state that the account will be reinstated upon

payment of 50% of the balance.

   32.    The letter deceives and misleads the consumer by implying that paying

50% would achieve results akin to a settlement offer, when in reality the

Defendant’s offer contains no significant benefits and is unclear to what the

benefits of the settlement would actually be.

   33.    Furthermore, the letter has a heading at the top of the letter stating

“Reduced Balance Opportunity.”

   34.    The statement “Reduced Balance Opportunity” implies that Plaintiff can

reduce his balance, thereby reinstating his account, but nowhere is that clearly

stated in the letter.

   35.    Plaintiff was confused and misled by the offer, whether it was an actual

settlement or not and as a result did not accept the offer.
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   36.    Defendant's deceptive, misleading and unfair representations with

respect to its collection effort were material misrepresentations that affected and

frustrated Plaintiff's ability to intelligently respond to Defendant's collection

efforts because Plaintiff could not adequately respond to the Defendant's demand

for payment of this debt.

   37.    Defendant’s actions created an appreciable risk to Plaintiff of being

unable to properly respond or handle Defendant’s debt collection.

   38.    Plaintiff was confused and misled to her detriment by the statements in

the dunning letter, and relied on the contents of the letter to her detriment.

   39.    As a result of Defendant’s deceptive, misleading and false debt

collection practices, Plaintiff has been damaged.

                        COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                  15 U.S.C. §1692e et seq.

   40.    Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs above herein with the same force and effect as if the same were set

forth at length herein.

   41.    Defendant’s debt collection efforts attempted and/or directed towards the

Plaintiff violated various provisions of the FDCPA, including but not limited to 15

U.S.C. § 1692e.
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      42.      Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false,

   deceptive, or misleading representation or means in connection with the collection

   of any debt.

      43.      Defendant violated said section by:

               a. Making a false and misleading representation in violation of but not

                  limited to §1692e (10).

      44.      By reason thereof, Defendant is liable to Plaintiff for judgment that

   Defendant's conduct violated Section 1692e, et seq. of the FDCPA and is entitled

   to actual damages, statutory damages, costs and attorneys’ fees.



                          DEMAND FOR TRIAL BY JURY

      45.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

   hereby requests a trial by jury on all issues so triable.



                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Tonia Brower, individually and on behalf of all

others similarly situated, demands judgment from the Defendants as follows:

            a. Declaring that this action is properly maintainable as a Class Action

               and certifying Plaintiff as Class representative, and Misty Oaks Paxton,

               Esq. as Class Counsel;
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         b. Awarding Plaintiff and the Class statutory damages;

         c. Awarding Plaintiff and the Class actual damages;

         d. Awarding Plaintiff costs of this Action, including reasonable attorneys’

            fees and expenses;

         e. Awarding pre-judgment interest and post-judgment interest; and

         f. Awarding Plaintiff and the Class such other and further relief, as well

            as further costs, expenses and disbursements of this action, as this

            Court may deem just and proper.



Dated:      December 22, 2020                      Respectfully Submitted,

                                                   /s/ Misty Oaks Paxton
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